Meghan Claiborne

From:                              Meghan Claiborne
Sent:                              Thursday, January 28, 2021 2:58 PM
To:                                'TMALONE@THEMALONEFIRM.COM'
Subject:                           Wexler v. City, et al.
Attachments:                       Wexler - Defendants' Interrogatories and RFP directed to Plaintiff.pdf


Good Afternoon:

I am taking over representation in the above matter for my colleague, Ms. Zabel, while she is out on maternity leave. I
see that discovery ends on Feb. 18, 2021. I believe there are outstanding discovery requests pending to you (attached),
and that plaintiff has not yet been deposed. Can you please provide discovery responses as soon as possible and let me
know what dates work for you client’s deposition prior to Feb. 18?

Feel free to call if you have any questions.

Best,

Meghan E. Claiborne
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